 Case 3:18-cv-01423-S-BT Document 19 Filed 07/10/18       Page 1 of 1 PageID 579


                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

STEPHEN KENJI LE BROCQ,            §
                                   §
           Plaintiff,              §
                                   §
v.                                 §         No. 3:18-CV-1423-S (BT)
                                   §
CITY OF CARROLLTON, TEXAS, et al., §
                                   §
          Defendants.              §

                                     ORDER

      This case was referred to the United States magistrate judge for pretrial

management on July 9, 2018. See Electronic Order [ECF No. 18]. Before the

Court is Plaintiff’s Contested Emergency Motion for Preliminary Injunction [ECF

No. 16], filed on July 6, 2018. The Court ORDERS Defendants to file a written

response to the Motion by July 20, 2018. Plaintiff may file a reply by July 27,

2018. The Court sets the Motion for a hearing on August 2, 2018, at 11:00

a.m., in Judge Rutherford’s courtroom on the 14th Floor of the federal

courthouse, Earle Cabell Building, 1100 Commerce Street, Dallas, Texas. Lead

counsel for the parties are required to attend the hearing in person.

      SO ORDERED.

      July 10, 2018.

                                      _____________________________
                                      REBECCA RUTHERFORD
                                      UNITED STATES MAGISTRATE JUDGE
